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                                       UNITED STATES DISTRICT COURT
                                          EASTERN DISTRICT OF WASHINGTON
                                                                                              BRANCH OFFICES
  SCOTT M. MORSE, SR.                            PROBATION OFFICE
                                                                                              FEDERAL BUILDING
   CHIEF PROBATION OFFICER
                                                   October 4, 2013                           25 S. 3rd Street, Room 326
          Thomas S. Foley
                                                                                                   PO BOX 1791
       United States Courthouse
                                                                                            YAKIMA, WA 98907-1791
     920 W Riverside, Room 540
                                                                                        (509) 574-5535 / fax (509) 574-5539
            PO BOX 306
    SPOKANE, WA 99210-0306
                                                                                              FEDERAL BUILDING
 (509) 742-6300 / fax (509) 742-6339
                                                                                             825 Jadwin Ave, Suite 170
                                                                                          RICHLAND, WA 99352-0446
                                                                                        (509) 943-8130 / fax (509) 943-8139
REPLY TO Spokane




         The Honorable John T. Rodgers
         United States District Court
         Thomas S. Foley United States Courthouse
         920 West Riverside Avenue, 7th Floor
         Spokane, WA 99201-1010

                                                      RE: LOUANGRATH, Adoune
                                                      DOCKET NO.: 2:13CR00114-002
                                                      REQUEST FOR MODIFICATION OF
                                                      PRETRIAL RELEASE CONDITIONS

         Your Honor:

         On July 9, 2013, the above-noted defendant made his initial appearance in this matter before
         the Honorable Cynthia Imbrogno, U.S. Magistrate Judge, in Spokane, Washington. Mr.
         Louangrath was detained pending a detention hearing.

         On July 12, 2013, a detention hearing was held. The Court took the matter of detention
         under advisement.

         On August 1, 2013, the Court ordered Mr. Louangrath be released from custody under
         conditions of pretrial release supervision. On or about August 12, 2013, the defendant posted
         bond and was released from custody.

         The defendant resides in Fresno, California, and is supervised by the U.S. Pretrial Services
         Office in the Eastern District of California. The purpose of this letter is to request two
         modifications of Mr. Louangrath’s conditions of pretrial release supervision.

         The supervising pretrial services officer (USPSO) in the Eastern District of California
         assigned to supervise the defendant reported to this officer that Mr. Louangrath has requested
         to travel to Clovis, California, for the purpose of grocery shopping. Clovis, California, is
         located next to Fresno, California. According to his pretrial release conditions, Mr.
         Louangrath’s travel is restricted to Fresno, California, and the Eastern District of Washington
         for court appearances. Subsequently, the USPSO denied the defendant’s request to enter into
         Clovis, California.
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The USPSO advised other defendants who reside in the Eastern District of California are
typically allowed to travel within that district. Therefore, this officer respectfully requests
that Mr. Louangrath’s travel restrictions be modified to allow him to travel within the Eastern
District of California, as well as the Eastern District of Washington for court appearances.

In addition, Mr. Louangrath has been ordered to comply with a curfew, as directed by the
pretrial services office, without the benefit of electronic monitoring. Without electronic
monitoring, the USPSO contacts Mr. Louangrath randomly during the night to verify his
compliance with the curfew requirement. The U.S. Pretrial Services Office in the Eastern
District of California would prefer an electronic monitoring condition be imposed so that Mr.
Louangrath’s curfew condition could be more effectively monitored. The cost for electronic
monitoring in the Eastern District of California is $3.19 per day. This officer respectfully
requests the defendant’s conditions be modified to include an electronic monitoring
requirement.

This officer has discussed the above-noted modification requests with defense counsel and
the assistant U.S. attorney. Neither party is opposed to the above-noted modifications of the
defendant’s pretrial release conditions. Enclosed with this letter is a consent to modify
conditions of release. Mr. Louangrath and the assigned USPSO in the Eastern District of
California discussed the release modification and the defendant signed the document.

Should the Court have any further questions, please contact the undersigned officer.

                                               Respectfully submitted,

                                               Scott M. Morse, Sr.
                                               Chief U.S. Probation Officer



                                        By:    s/Erik Carlson                     10/4/2013
                                               Erik Carlson                        Date
                                               U.S. Probation Officer

Approved By:



s/Matthew L. Thompson            10/4/2013
Matthew L. Thompson                 Date
Supervising U.S. Probation Officer

EC/jf
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THE COURT ORDERS

[ ]    No Action
[ ]    The Extension of Supervision as Noted Above
[X ]   The Modification of Conditions as Noted Above
                                                            S/JOHN T. RODGERS
[ ]    Other
                                                            Signature of Judicial Officer

                                                            October 7, 2013
                                                            Date
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